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December 4, 2024


                                                                                 Thomas E Wilson
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Mr. Steven Weisbrot                                                               2:21-mc-1230
President and CEO
Angeion Group
1650 Arch Street, Suite 2210                                                         12/17/2024
Philadelphia, PA 19103

Copy: The Honorable Joy Flowers Conti
Senior District Judge
U.S. District Court for the Western District of Pennsylvania
5250 United States Post Office & Courthouse
700 Grant Street
Pittsburgh, PA 15219


URGENT EXPEDITED REQUEST



Dear Mr. Weisbrot,
My name is Tom Wilson, and I am writing on behalf of 13,000 Philips CPAP patients, many of
whom are claimants in the Philips Respironics CPAP Class Action Settlement. I feel compelled
to share the growing frustration among our members due to the lack of communication and
discernible progress from the Philips Respironics CPAP Class Action Settlement Administrator,
for which Angeion Group is responsible.
Today, I contacted Angeion at 855-912-3432 to seek an update on the progress and next steps
for the claims process. Unfortunately, I was informed by your representative that no updates or
timelines could be provided and that these matters are at the discretion of the Administrator.
When I requested contact information for the Administrator, I was told that no such information
could or would be provided.
Furthermore, I asked for confirmation that Angeion had received my Device Replacement Award
Claim Form, which I originally submitted online on December 23, 2023. This was a follow-up to
a prior inquiry I made in March, at which time I was assured that my claim was "in progress."
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Regrettably, nine months later, I find myself no closer to understanding the status of my claim or
those of the thousands of patients I represent.
Our members deserve transparency and accountability. These individuals, many of whom are
grappling with health complications and financial hardship stemming from their use of the
recalled devices, need clarity on where this process stands and when they can reasonably
expect resolution.
I respectfully urge Angeion Group to:
    •   Provide an immediate, clear update on the status of the claims process.
    •   Commit to a timeline for resolution and payment distribution.
    •   Establish a direct line of communication for claimants to contact the Administrator for
        updates and concerns.
This lack of responsiveness is unacceptable and undermines the confidence of the class
members in the fairness of this settlement process. I am also copying Senior District Judge Joy
Flowers Conti on this correspondence to ensure the court is aware of these significant delays
and lack of communication.
I trust that you will treat this matter with the urgency it deserves and take immediate steps to
rectify these issues. Please feel free to contact me directly at [Your Contact Information] if you
wish to discuss this matter further.


Regards,
